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                                  UNITED STATES DISTRICT COURT
                                   MIDDLE DISTRICT OF FLORIDA
                                         TAMPA DIVISION


  NATALIE KHAWAM,

                                                       CASE NO.:
             Plaintiff,

 -vs-

  NCO FINANCIAL SYSTEMS, INC.


             Defendant.
                                          /

                                              COMPLAINT

         1.         Plaintiff alleges NCO FINANCIAL SYSTEMS, INC. “robo-called” her more than

150 times in stark violation of the Telephone Consumer Protection Act, 47 U.S.C. §227 et seq.

(“TCPA”), the Florida Consumer Collection Practices Act, Fla. Stat. §559.55 et seq. (“FCCPA”)

and the Fair Debt Collection Practices Act, 15 U.S.C. § 1692 et seq. (“FDCPA”).

                                          INTRODUCTION

        2.          “Robocalls” are the #1 consumer complaint in America today.  

        3.          The FTC reported over 3.2 million complaints about robocalls in 2014, of which

almost half (1,678,433) occurred after the consumer had already requested that the company stop

calls. Federal Trade Commission, National Do Not Call Registry Data Book, FY 2014, at 5 (Nov.

2014). Since this report the number of complaints have increased. Robocalls are very inexpensive

to make. As was noted in a Senate hearing on the subject: “With such a cheap and scalable business

model, bad actors can blast literally tens of millions of illegal robocalls over the course of a single

day at less than 1 cent per minute.” Senate Hearing at 5.


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      4.       According to the Federal Communications Commission (FCC), “Unwanted calls

and texts are the number one complaint to the FCC. There are thousands of complaints to the FCC

every month on both telemarketing and robocalls. The FCC received more than 215,000 TCPA

complaints in 2014." https://www.fcc.gov/document/fact-sheet-consumer-protection-proposal.

      5.       The TCPA was enacted to prevent companies like NCO FINANCIAL SYSTEMS,

INC. from invading American citizens’ privacy and prevent illegal robocalls.

      6.       “The TCPA is designed to protect individual consumers from receiving intrusive

and unwanted telephone calls.” Mims v. Arrow Fin. Servs., LLC, 132 S. Ct. 740, 745, 181 L.Ed.2d

881 (2012).

      7.       “Senator Hollings, the TCPA’s sponsor, described these calls as ‘the scourge of

modern civilization, they wake us up in the morning; they interrupt our dinner at night; they force

the sick and elderly out of bed; they hound us until we want to rip the telephone out of the wall.”

137 Cong. Rec. 30, 821 (1991) Senator Hollings presumably intended to give telephone

subscribers another option: telling the autodialers to simply stop calling.” Osario v. State Farm

Bank, F.S.B., 746 F. 3d 1242 (11th Cir. 2014).

                                JURISDICTION AND VENUE

      8.       Jurisdiction and venue for purposes of this action are appropriate and conferred by

28 U.S.C. §1331.

      9.       The alleged violations described in the Complaint occurred in Tampa, Florida.

                                 FACTUAL ALLEGATIONS

       10.     Plaintiff is a natural person, and citizen of the State of Florida, residing in Tampa,

Florida.




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       11.     Plaintiff is a “consumer” as defined in Florida Statute 559.55(8) and 15 U.S.C. §

1692(a)(3).

       12.     Plaintiff is an “alleged debtor.”

       13.     Plaintiff is the “called party.” See Breslow v. Wells Fargo Bank, N.A., 755 F. 3d

1265 (11th Cir. 2014) and Osorio v. State Farm Bank, F.S.B., 746 F. 3d 1242 (11th Cir. 2014).

       14.     Defendant is a corporate entity registered in Delaware, responsible for attempting

to collect a consumer debt from Plaintiff and is transacting business in the State of Florida.

       15.     Defendant is a “debt collector” as defined by Florida Statute § 559.55(7) and 15

U.S.C. § 1692(a)(6).

       16.     The debt that is the subject matter of this complaint is a “consumer debt” as defined

by Florida Statute §559.55(6) and U.S.C. § 1692(a)(5).

       17.     Plaintiff is the regular user and carrier of the cellular telephone number at issue,

(***) ***-2820.

       18.     Defendant intentionally harassed and abused Plaintiff on numerous occasions by

calling several times during one day, and on back to back days, with such a frequency as can be

reasonably expected to harass.

       19.     Defendant attempted to collect a debt from the Plaintiff by this campaign of

telephone calls.

       20.     Defendant made at least one call to (***) ***-2820 using an “automatic telephone

dialing system” (ATDS).

       21.     Defendant made at least fifty (50) calls to (***) ***-2820 using an ATDS.

       22.     Defendant made at least one hundred (100) calls to (***) ***-2820 using an

ATDS. 


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       23.     Each call the Defendant made to (***) ***-2820 in the last four years was made

using   an ATDS.

       24.     Each call the Defendant made to the Plaintiff was made using an ATDS which has

the capacity to store or produce telephone numbers to be called, without human intervention, using

a random or sequential number generator; and to dial such numbers as specified by 47 U.S.C

§227(a)(1).

       25.     Furthermore, each of the calls at issue were placed by the Defendant using a

“prerecorded voice,” as specified by the TCPA, 47 U.S.C. § 227(b)(1)(A).

       26.     Defendant has stipulated in another lawsuit that the telephone system used to call

the Plaintiff was in fact an ATDS.

       27.     Plaintiff repeatedly requested the Defendant to stop calling her cell phone however

the Defendant continued to make calls

       28.     Defendant has recorded at least one conversation with the Plaintiff  

       29.     Defendant has recorded numerous conversations with the Plaintiff.  

       30.     None of Defendant’s telephone calls placed to Plaintiff were for “emergency

purposes” as specified in 47 U.S.C. §227(b)(1)(A).

       31.     In or about March of 2014, Plaintiff received a telephone call to her aforementioned

cellular telephone number from Defendant seeking to recover a debt. Upon receipt of the calls

from Defendant, Plaintiff’s caller ID identified the calls were being initiated from, but not limited

to, the following phone number: (614) 717-4395.

       32.     Immediately upon receipt of the calls, in or about March of 2014 due to a ceaseless

barrage of daily calls, Plaintiff answered a call from Defendant and informed an




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agent/representative of the Defendant that their incessant calls were harassing her and demanded

that Defendant cease placing calls to her aforementioned cellular telephone number.

       33.     In or about March of 2014, during the aforementioned phone conversation with

Defendant’s agent/representative, Plaintiff expressly revoked any express consent Defendant may

have had for placement of telephone calls to Plaintiff’s aforementioned cellular telephone number

by the use of an ATDS or a pre-recorded or artificial voice.

       34.     Each subsequent call Defendant made to the Plaintiff’s aforementioned cellular

telephone number was done so without the “express permission” of the Plaintiff.

       35.     Additionally, in or about April of 2014, Plaintiff answered a call from the

Defendant, explained that she has told them to stop calling before, and again demanded that

Defendant stop calling her aforementioned cellular telephone number.

       36.     Each of Plaintiff’s conversations with the Defendant demanding an end to the

harassment were ignored.

       37.     Despite actual knowledge of their wrongdoing, and that they did not have Plaintiff’s

consent, the Defendant continued its barrage of phone calls to Plaintiff’s aforementioned cellular

telephone number in an attempt to collect a debt.

       38.     From about April of 2014 through the filing of this Complaint, Defendant placed

approximately (150) automated calls to Plaintiff’s aforementioned cellular telephone (or as will

be established after a thorough review of Defendant’s records), despite the Plaintiff revoking any

consent Defendant may have had to place calls to her aforementioned cellular telephone number.

       39.     Defendant’s corporate policy and procedures is structured as to continue to call

individuals like the Plaintiff, despite these individuals revoking any consent the Defendant may

have had.


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       40.     Defendant’s, corporate policy and procedures provided no means for the Plaintiff

to have her aforementioned cellular number removed from the call list.

       41.     Defendant has a corporate policy of using an ATDS or a prerecorded or artificial

voice message to collect debts from individuals such as Plaintiff for its financial benefit.

       42.     Defendant has numerous other federal lawsuits pending against them alleging

similar violations as stated in this complaint. The Defendant has been sued civilly in Federal Court

365 times in the last three (3) years (Attached hereto as Exhibit “A”).

       43.     Defendant violated the TCPA with respect to the Plaintiff.

       44.     Defendant willfully or knowingly violated the TCPA with respect to the Plaintiff.

                                            COUNT I
                                     (Violation of the TCPA)

       45.     Plaintiff incorporates Paragraphs one (1) through forty-four (44).

       46.     Defendant caused placement of non-emergency telephone calls to Plaintiff’s

cellular telephone using an ATDS or prerecorded or artificial voice without Plaintiff’s prior

express consent in violation of federal law, including 47 U.S.C § 227(b)(1)(A)(iii).

       47.     Defendant willfully and knowingly caused placement of non-emergency telephone

calls to Plaintiff’s cellular telephone using an ATDS or prerecorded or artificial voice without

Plaintiff’s prior express consent in violation of federal law, including 47 U.S.C § 227(b)(1)(A)(iii).

       WHEREFORE, Plaintiff respectfully demands a trial by jury on all issues so triable and

judgment against Defendant for statutory damages, punitive damages, actual damages and any

other such relief the court may deem just and proper.

                                            COUNT II
                                    (Violation of the FCCPA)

       44.     Plaintiff incorporates Paragraphs one (1) through forty-four (44).


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       45.     At all times relevant to this action Defendant is subject to and must abide by the

law of Florida, including Florida Statute § 559.72.

       46.     Defendant has violated Florida Statute §559.72(7) by willfully communicating with

the debtor or any member of her or his family with such frequency as can reasonably be expected

to harass the debtor or her or his family.

       47.     Defendant has violated Florida Statute §559.72(7) by willfully engaging in conduct

which can reasonably be expected to abuse or harass the debtor or any member of her or his family.

       48.     Defendant has violated Florida Statute §559.72(9) by attempting to enforce a debt

when Defendant knows that the debt is not legitimate or assert the existence of some legal right

when Defendant knows that right does not exist.

       49.     Defendant’s actions have directly and proximately resulted in Plaintiff’s prior and

continuous sustaining of damages as described by Florida Statute §559.77.

       WHEREFORE, Plaintiff respectfully demands a trial by jury on all issues so triable and

judgment against Defendant for statutory damages, punitive damages, actual damages, costs,

interest, attorney fees and any other such relief the court may deem just and proper.

                                           COUNT III
                                    (Violation of the FDCPA)

       50.     Plaintiff incorporates Paragraphs one (1) through forty-four (44).

       51.     At all times relevant to this action, Defendant is subject to and must abide by 15

U.S.C. § 1692 et seq.

       52.     Defendant engaged in an act or omission prohibited under 15 U.S.C. § 1692(d) by

willfully engaging in conduct the natural consequence of which is to harass, oppress, or abuse any

person in connection with the collection of a debt.



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       53.     Defendant engaged in an act or omission prohibited under 15 U.S.C. § 1692(d)(5)

by causing a telephone to ring or engaging any person in telephone conversation repeatedly or

continuously with intent to annoy, abuse, or harass any person at the called number.

       54.     Defendant engaged in an act or omission prohibited under 15 U.S.C. § 1692(f) by

using unfair and unconscionable means to collect or attempt to collect any debt.

       WHEREFORE, Plaintiff respectfully demands a trial by jury on all issues so triable and

judgment against for statutory damages, punitive damages, actual damages, costs, interest, attorney

fees and any other such relief the court may deem just and proper.

                                              Respectfully submitted,

                                             s/William Peerce Howard
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